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    1
                            UNITED STATES DISTRICT COURT
    2                      CENTRAL DISTRICT OF CALIFORNIA
    3

    4 CURTIS MARKSON, et al.,

    5               Plaintiffs,                       CASE NO. 5:17-cv-01261
    6
                                                      DECLARATION OF
    7         vs.                                     NICHOLAS J. GILES
    8

    9 CRST INTERNATIONAL, INC., et al.,

   10               Defendants.
   11

   12

   13         I, Nicholas J. Giles, hereby swear under penalty of perjury that the following is

   14 true and correct:

   15
              1.    My name is Nicholas J. Giles, and I am a partner at the law firm
   16

   17 McGuireWoods LLP. I have been admitted to practice pro hac vice before this Court,

   18 and I am lead counsel for Schneider National Carriers, Inc. (“Schneider”) in the

   19
        above-captioned matter.
   20

   21         2.    I am over the age of 18, of sound mind, and I make the statements in this
   22 declaration based on my personal knowledge.

   23
              3.    I make this declaration in support of Schneider’s Motion to Appear
   24

   25 Remotely      via Zoom at the Hearing on Defendants' Motion for Summary
   26 Judgment.     If called upon to testify concerning these matters, I can competently do
   27
        so.
   28

                                                  1
                                  DECLARATION OF NICHOLAS J. GILES
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    1         4.     I live and work in Richmond, Virginia. Flying from Richmond, VA to
    2
        Los Angeles, CA requires two flights each way, as there are no direct flights between
    3

    4 those two cities.

    5         5.     As a result, Schneider will incur significant travel costs associated with
    6
        my attending the hearing on August 5, which could be avoided if I am permitted to
    7

    8 attend remotely via Zoom.

    9         I declare under penalty of perjury under the laws of the United States of
   10
        America that the foregoing is true and correct.
   11

   12 Executed this 2nd day of August, 2022 in Richmond, Virginia.

   13

   14
                                                           /s/ Nicholas J. Giles
   15

   16                                                      Nicholas J. Giles
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                                  DECLARATION OF NICHOLAS J. GILES
